Plaintiff, in his own behalf, and as assignee of others, filed the bill of complaint herein to establish and foreclose a mechanic's lien on real estate in the city of Ypsilanti, Michigan. A decree was entered for plaintiff, and defendant John A. Burtis appeals. It does not appear that plaintiff and his assignors, or any of them, performed any service or furnished any materials in pursuance of any contract with the owner, part owner, or lessee of the real estate, or of any interest therein, here involved. There is no basis for a mechanic's lien. Section 14796, 3 Comp. Laws 1915;Merrill v. Brant, 175 Mich. 182; John Wallace Sons Co. v.Wilkinson, 181 Mich. 693.
The decree herein is reversed and the bill of complaint dismissed, with costs.
FEAD, C.J., and NORTH, FELLOWS, WIEST, CLARK, McDONALD, and SHARPE, JJ., concurred. *Page 66 